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                          UNITED STATES BANKRUPTCY COURT                     SF01007N (rev 06/2017)
                                Southern District of Indiana
                            101 NW M.L. King Jr. Blvd., Rm. 352
                                  Evansville, IN 47708
In re:

Leo Pettyjohn,                                             Case No. 18−80447−JJG−7
            Debtor.

                    DEFICIENCY NOTICE FOR BANKRUPTCY PETITION

NOTICE IS GIVEN that your Bankruptcy Petition is incomplete. Required items which
have not been filed as of this date are noted below:

•   Chapter 7 Statement of Current Monthly Income (Form 122A−1) due August 2, 2018
•   Debtor's Pay Advices or Statement in Lieu due August 2, 2018
•   Statement of Intention due August 20, 2018
•   Attorney Disclosure of Compensation due August 2, 2018
•   Declaration to Schedules due August 2, 2018
•   Statement of Financial Affairs with Declaration due August 2, 2018
•   Summary of Assets and Liabilities due August 2, 2018
•   Schedules A/B−J with Declaration due August 2, 2018

Documents filed with the Court must be the most recent official forms which can be found
at www.uscourts.gov/forms/bankruptcy−forms.

NOTICE IS FURTHER GIVEN that unless these items are filed by the due date listed
above, or an extension of time to file is properly applied for and granted, the
above−captioned case may be dismissed immediately without further notice at the
expiration of the due date or extended time period.

Dated: July 19, 2018                             Kevin P. Dempsey
                                                 Clerk, U.S. Bankruptcy Court
